         Case 1:21-cr-00291-ABJ Document 156 Filed 10/18/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )      No. 1:21-CR-291
                                                     )
ALBUQUERQUE COSPER HEAD                              )

                          DEFENDANT’S RESPONSE TO COURT

       Albuquerque Head, through counsel, respectfully submits this response to the Court’s

Minute Entry, dated October 17, 2022.

       Pursuant to Standing Order No 21-28, the presiding judge may seek the position of the

parties before determining whether the release is appropriate.

       Mr. Head understands the general and long-standing presumption in favor of public access

to judicial records. See Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555 (1980); Nixon v.

Warner Communications, Inc., 435 U.S. 589 (1978); United States v. Hubbard, 650 F.2d 293 (D.C.

Cir. 1980) (creating the Hubbard test). This identical issue was examined in United States v.

Jackson, 1:21-MJ-115 and the Hubbard test was employed. The District Court weighed all of the

Hubbard factors and overwhelmingly determined that public access to the videos was appropriate.

See 1:21-MJ-115, ECF Doc. 24.

       As in the previous responses, Mr. Head takes no position on the relief sought by the Press

Coalition in Doc. 151.

                                             RESPECTFULLY SUBMITTED:

                                             FEDERAL DEFENDER SERVICES OF
                                             EASTERN TENNESSEE, INC.

                                      BY:    s/ G. Nicholas Wallace
                                             G. Nicholas Wallace
                                             ASB No. 6992D56F
                                             FEDERAL DEFENDER SERVICES
         Case 1:21-cr-00291-ABJ Document 156 Filed 10/18/22 Page 2 of 2




                                               OF EASTERN TENNESSEE, INC.
                                               800 South Gay Street, Suite 2400
                                               Knoxville, TN 337929
                                               (865) 637-7979



                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 18, 2022, a copy of the foregoing Response was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to all parties indicated on the electronic filing receipt. All other parties will be served by regular
U.S. mail. Parties may access this filing through the Court’s electronic filing system.

                                               s/ G. Nicholas Wallace
